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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION

   CENTRIPETAL NETWORKS, INC.,         )
                                       )
              Plaintiff,               )   No. 2:18-cv-00094-HCM-LRL
                                       )
         v.                            )   PUBLIC NOTICE OF
                                       )   DOCUMENT FILED UNDER
   CISCO SYSTEMS, INC.,                )
                                           SEAL
                                       )
               Defendant.              )
                                       )
                                       )
                                       )




          PLAINTIFF CENTRIPETAL NETWORKS, INC.’S MEMORANDUM
    IN OPPOSITION TO CISCO SYSTEMS, INC.’S MOTION FOR MISCELLANEOUS
                                 RELIEF
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         Plaintiff Centripetal Networks, Inc. (“Centripetal”) has filed its Memorandum in

  Opposition to Cisco Systems, Inc.’s Motion for Miscellaneous Relief under seal in its entirety,

  pursuant to Centripetal’s concurrently-filed Motion for Leave to File Document Under Seal.




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   Dated: August 31, 2020                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 31, 2020, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will automatically send notification of

  electronic filing to all counsel of record.

                                                        /s/ Stephen E. Noona
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